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ATTORNEY FOR PLAINTIFF



                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

INTERMOUNTAIN FAIR HOUSING          )
COUNCIL,                            )                           10-598
                                                   CASE NO. CV _______________
                                    )
      Plaintiff,                    )              VERIFIED COMPLAINT AND
                                    )              DEMAND FOR JURY TRIAL
vs.                                 )
                                    )
CHIEF SELTICE MOBILE HOME PARK )
and JEANIE PEERY,                   )
                                    )
      Defendants.                   )
____________________________________)

       COMES NOW the Plaintiff Intermountain Fair Housing Council and for a cause of action

against the Defendants Chief Seltice Mobile Home Park and Jeanie Peery, states and alleges as

follows:

                                 NATURE OF THE ACTION

       1. This is an action brought by the above-named Plaintiff for declaratory judgment,

permanent injunctive relief and damages on the following bases:

        a. Fair Housing Act, 42 U.S.C. §3601 et seq. (hereinafter “FHA”), and in particular:
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DEMAND FOR JURY TRIAL                                                             KEN NAGY
                                                                                   Attorney at Law
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                i. Discrimination in the sale or rental, or otherwise made unavailable, a dwelling

         because of “handicap”, 42 U.S.C. §3604(f)(1);

                ii. Discriminatory terms, conditions or privileges in the sale or rental of a dwelling

         because of “handicap”, 42 U.S.C. §3604(f)(2);

                iii. Refusal to make reasonable accommodations in rules, policies, practices, or

         services, when such accommodations may be necessary to afford such person equal

         opportunity to use and enjoy a dwelling, 42 U.S.C. §3604(f)(3)(B);

                iv. Making, printing or publishing a notice or statement with respect to the sale or

         rental of a dwelling that indicates a preference, limitation or discrimination based on

         “handicap”, 42 U.S.C. §3604(c); and

                v. Interference, coercion or intimidation, 42 U.S.C. §3617.

         b. Fair Housing Regulations, 24 C.F.R. §100 et seq., and in particular 24 C.F.R.

§100.202(c) which prohibits inquiry into the nature or severity of an applicant’s disability.

         c. Negligence.

                                  JURISDICTION AND VENUE

         2. This Court has jurisdiction over this action pursuant to 42 U.S.C. §3613 and

28 U.S.C. §§1331, 1332, 1337, 1343 and 2201. The amount in controversy exceeds $75,000

exclusive of interests and costs. Venue is proper in this District in that the claims alleged herein

arose in and concern real property located in the City of Post Falls, County of Kootenai, State of

Idaho.

                                              PARTIES

         3. The Plaintiff Intermountain Fair Housing Council (hereinafter “the Plaintiff” or

“IFHC”) is a private, nonprofit organization organized under the laws of the State of Idaho with

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its principal place of business at 350 North 9th Street, Suite M-100, Boise, Idaho 83702. Its

mission is to advance equal access to housing for all persons without regard to race, color, sex,

religion, national origin, familial status, or disability (the term “handicap”, as that term is used

and defined in the FHA, is used herein interchangeably with the term “disability”). The Plaintiff

serves housing consumers through, among other things, education on the fair housing laws and

assistance with complaints.

       4. The Defendant Chief Seltice Mobile Home Park is an unincorporated business doing

business in the State of Idaho. Its principal place of business is North 651 Corbin Road, Post

Falls, Idaho 83854. The Defendant Jeanie Peery (hereinafter “Defendant Peery”) is the owner

and operator of the Defendant Chief Seltice Mobile Home Park and resides at 17332 North

Wilkinson Road, Rathdrum, Idaho 83858. The real property that is the subject of this proceeding

is the Chief Seltice Mobile Home Park (hereinafter “the Subject Property”), a 28-space mobile

home park located at 735 North Corbin Road, Post Falls, Idaho 83854. The Subject Property is

owned by the Defendant Peery and operated by the above-named Defendants.

                                   STANDING OF PLAINTIFF

       5. The Plaintiff has suffered damages as the result of the above-named Defendants’

actions and omissions, including the diversion of the Plaintiff’s past and future resources, lost

economic opportunity, and the frustration of the Plaintiff’s mission.

       6. The Plaintiff’s mission, as described above, has been frustrated by the above-named

Defendants’ practices because the above-named Defendants’ violations of the FHA communicate

to housing consumers and housing providers that discriminatory practices are permissible and

that correctional remedies are not available, thereby hampering Plaintiff’s efforts to educate the

public on fair housing issues and to advance equal access to housing.

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       7. The Plaintiff’s mission has further been frustrated as the above-named Defendants’

violations of the FHA have reduced the pool of non-discriminatory rental housing available to

tenants in the State of Idaho.

       8. In order to counteract the frustration of the Plaintiff’s mission, the Plaintiff has had to

devote significant resources to identify, investigate, document and take action to correct the

above-named Defendants’ violations of the FHA, including but not limited to the incursion of

litigation expenses. As a result, the Plaintiff has actually diverted resources from other fair

housing-related activities, including fair housing education and enforcement activities throughout

the State of Idaho and the surrounding region. Furthermore, the Plaintiff will necessarily incur

additional expenses in the future to counteract the lingering effects of the Defendants’ violations

of the FHA through the monitoring of the above-named Defendants’ activities, publication and

advertising costs, and the sponsorship of educational activities.

       9. As a direct result of the above-named Defendants’ actions and omissions as described

below, the Plaintiff is an “aggrieved person”, as that term is defined by the FHA. 42 U.S.C.

§3601(i).

       10. The Plaintiff has suffered and continues to suffer significant and irreparable loss and

injury, and has sufficient standing to bring this action before this Court.

                                   GENERAL ALLEGATIONS

       11. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-10 above.

       12. M.T. is handicapped, as that term is defined at 42 U.S.C. §3602(h). As a result of

M.T.’s handicap, she requires the assistance of a service animal. M.T.’s service animal is a dog.



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       13. M.T. entered into a lease with the above-named Defendants on or about the 5th day of

September, 1995 for the lease of a mobile home lot located at the Subject Property. M.T.

purchased a mobile home located on a lot that she leases from the above-named Defendants.

       14. In or about April 2007, M.T. obtained a service animal, which is a dog named “Miss

Pebbles”. At the time she obtained the service animal, she requested of the above-named

Defendants a reasonable accommodation that she be permitted to have a service animal and

submitted to the above-named Defendants a prescription from her treating physician for the

service animal dated the 16th day of April, 2007 (redacted copy attached hereto as “Exhibit A”).

The above-named Defendants failed or refused to respond to that reasonable accommodation

request from M.T.

       15. In or about early April 2009, the Defendant Peery instructed Dick Hensyel, the

property manager for the Defendant Chief Seltice Mobile Home Park, to require all tenants who

have dogs to either remove their dogs from the Subject Property or have their leases terminated.

Mr. Hensyel told the Defendant Peery that she cannot force M.T. to remove her dog because it is

a service animal for which she has properly requested a reasonable accommodation and has

submitted a prescription from her treating physician. The Defendant Peery told Mr. Hensyel that

she will not permit M.T. to remain living at the mobile home park with her service animal,

therefore she will terminate M.T.’s lease without stating a reason for the termination.

       16. M.T. received a letter from Shawn Nunley, attorney for the above-named

Defendants, dated the 9th day of April, 2009 (redacted copy attached hereto as “Exhibit B”)

which stated that her lease is being terminated and which gave her 90 days to vacate the

premises. On or about the 10th day of April, 2010, M.T. discussed Mr. Nunley’s letter with Mr.



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Hensyel, who told M.T. that her lease has been terminated due to the presence of her service

animal.

          17. M.T. submitted a complaint of housing discrimination to the Plaintiff on or about the

10th day of April, 2009 as the result of the above-named Defendants’ discriminatory actions.

          18. M.T. submitted to the above-named Defendants a written reasonable accommodation

request dated the 15th day of April, 2009 which included a second note from her treating

physician dated the 15th day of April, 2009 prescribing for her a service animal (redacted copy

attached hereto as “Exhibit C”).

          19. M.T. received a second letter from Shawn Nunley, attorney for the above-named

Defendants, dated the 24th day of April, 2009 (redacted copy attached hereto as “Exhibit D”)

which acknowledged receipt of M.T.’s reasonable accommodation request and failed to grant

that request. Said letter further threatened M.T. with eviction in the event that she does not

vacate the premises within 90 days of Mr. Nunley’s previous letter terminating M.T.’s lease.

Exh. D.

          20. M.T. authorized the Plaintiff to submit on her behalf a third reasonable

accommodation request to the above-named Defendants dated the 4th day of May, 2009 (redacted

copy attached hereto as “Exhibit E”).

          21. M.T. received a third letter from Mr. Nunley, attorney for the above-named

Defendants, dated the 28th day of May, 2009 (redacted copy attached hereto as “Exhibit F”)

which failed or refused to grant M.T.’s reasonable accommodation request. Mr. Nunley’s letter

further described his previous letter which terminated M.T.’s lease as an “eviction notice”. Exh.

F. Such a description of that previous letter is in discord with Idaho law, which requires judicial

action in order to accomplish an eviction. Idaho Code §6-301 et seq. There was no legal basis

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for Mr. Nunley to assert that his previous letter was an “eviction notice” and such action was

intended to coerce, intimidate, threaten or interfere with M.T. in the exercise or enjoyment of her

rights granted or protected by the FHA. 42 U.S.C. §3617.

       22. The Plaintiff investigated M.T.’s complaint of housing discrimination and conducted

a recorded telephonic test of the above-named Defendants on or about the 29th day of May, 2009

to determine whether there is further evidence to support M.T.’s allegations. The Plaintiff’s

tester contacted Mr. Hensyel, the above-named Defendants’ property manager, regarding the

availability of space in the mobile home park. The Plaintiff’s tester was told by Mr. Hensyel that

there are spaces available for $255.00 per month and $100.00 deposit. Mr. Hensyel inquired of

the Plaintiff’s tester whether she has “a big dog.” The Plaintiff’s tester told Mr. Hensyel “no.”

Mr. Hensyel told the Plaintiff’s tester “that’s good, because Jeanie doesn’t, uh, uh, she’s kicking

people out right now because they have dogs.”

       23. On or about the 23rd day of June, 2009, two testers for the Plaintiff conducted an in-

person test of the above-named Defendants. The Plaintiff’s testers contacted Mr. Hensyel

regarding the availability of space in the mobile home park. Mr. Hensyel told the Plaintiff’s

testers that the Defendant Peery will not permit them to live at the mobile home park with an

animal, even if the animal is a service animal.

       24. M.T. filed a complaint of housing discrimination with the United States Department

of Housing and Urban Development (hereinafter “HUD”) dated the 28th day of May, 2009.

       25. As a result of the Plaintiff’s investigation, it concluded that the above-named

Defendants have engaged in housing discrimination and it filed an administrative complaint with

HUD dated the 25th day of June, 2009.



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        26. The above-named Defendants terminated Mr. Hensyel’s employment as the result of

his refusal to terminate M.T.’s lease due to the presence of her service animal.

        27. As the result of the above-named Defendant’s discriminatory conduct and the

termination of her lease, M.T. vacated her trailer at the Subject Property on or about the 29th day

of June, 2009. M.T. removed her personal belongings but was legally unable to remove her

trailer because it is too old to be moved. As the result, M.T.’s trailer remains at the Subject

Property. Even though the above-named Defendants have terminated M.T.’s lease, they continue

to bill M.T. for the lot rent.

        28. The Plaintiff and M.T. withdrew the administrative complaints that they each had

filed with HUD in order to seek a judicial remedy. The Secretary of HUD has not commenced a

hearing on the record pursuant to the FHA regarding the matters at issue herein.

        29. Due to the ongoing nature of the above-named Defendants’ conduct, said conduct

constitutes a continuing violation.

        30. The above-named Defendants’ conduct is willful and intentional, and exhibits

reckless or callous indifference for the rights of the victims.

COUNT ONE—DISCRIMINATION ON THE BASIS OF “HANDICAP” IN VIOLATION OF
      THE FAIR HOUSING ACT AND ITS IMPLEMENTING REGULATIONS

        31. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-30 above.

        32. The above-named Defendants have discriminated in the sale or rental of, and

otherwise made unavailable and denied, a dwelling on the basis of “handicap”. 42 U.S.C.

§3604(f)(1).




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       33. The above-named Defendants have discriminated in the terms, conditions and

privileges of the sale or rental of a dwelling, and the services and facilities in connection

therewith, on the basis of “handicap”. 42 U.S.C. §3604(f)(2).

       34. The above-named Defendants have refused to make reasonable accommodations in

rules, policies, practices, or services, when such accommodations may be necessary to afford

M.T. equal opportunity to use and enjoy a dwelling. 42 U.S.C. §3604(f)(3)(B).

       35. The above-named Defendants have made, printed or published a notice or statement

with respect to the sale or rental of a dwelling that indicates a preference, limitation or

discrimination based on “handicap”. 42 U.S.C. §3604(c).

       36. The above-named Defendants have engaged in interference, coercion or intimidation

in the exercise or enjoyment of rights granted the victims by the FHA. 42 U.S.C. §3617.

                                 COUNT TWO—NEGLIGENCE

       37. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-36 above.

       38. The above-named Defendants owed a duty of care to use reasonable care to avoid

injury and to prevent unreasonable, foreseeable risks of harm to M.T.

       39. The above-named Defendants owed a duty of care to use reasonable care to avoid

injury and to prevent unreasonable, foreseeable risks of harm to the Plaintiff when it performed

its tests of the above-named Defendants regarding the Subject Property.

       40. It could have been reasonably anticipated or foreseen by the above-named

Defendants that their failure to use reasonable care might result in injury to the Plaintiff and to

M.T.



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       41. The above-named Defendants were negligent in that they failed to use reasonable

care to avoid injury and to prevent unreasonable, foreseeable risks of harm to the Plaintiff and to

M.T. by failing to adequately train and supervise their agents and employees with regards to the

requirements of the Fair Housing Act, 42 U.S.C. §3601 et seq., as well as its implementing

regulations provided at 24 C.F.R. §100 et seq.

                                            DAMAGES

       42. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-41 above.

       43. As the result of the actions and omissions of the above-named Defendants, as

described above, the Plaintiff has suffered significant and irreparable loss and injury.

       44. The Plaintiff is an “aggrieved person[s]”, as defined in 42 U.S.C. §3601(i), and is an

intended beneficiary of the protections and requirements of the statutes, laws and regulations

referenced above.

       45. The Plaintiff has suffered actual damages as a result of its out-of-pocket expenses

and past diversion of its resources, as described above and in the attached “Appendix A”, in the

amount of $13,021.11, which continue to accrue.

       46. The Plaintiff has suffered actual damages as a result of the necessary future diversion

of its resources, as described above and in the attached “Appendix A”, in the amount of

$10,500.00.

       47. The Plaintiff has suffered actual damages as a result of lost economic opportunity, as

described above and in the attached “Appendix A”, in the amount of $1,000.00.

       48. The Plaintiff has suffered actual damages as a result of the frustration of its mission,

as described above and in the attached “Appendix A”, in the amount of $19,006.00.

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       49. In addition to the injuries suffered by the Plaintiff, the above-named Defendants have

also caused significant and irreparable loss and injury to M.T. and to a number of as-of-yet

unidentified persons.

       50. Said victims are “aggrieved person[s]”, as defined in 42 U.S.C. §3601(i), and are

intended beneficiaries of the protections and requirements of the statutes, laws and regulations

referenced above.

       51. All victims of the above-named Defendants’ actions and conduct should be identified

and compensated through a Victims’ Compensation Fund.

       52. A Victims’ Compensation Fund should be established in the amount of $945,919.76

in order to compensate M.T. and as-of-yet unidentified victims of the above-named Defendants’

discriminatory conduct, as described in the attached “Appendix B”, from which such victims

should be compensated. Said Victims’ Compensation Fund should be established and

administered as follows:

           a. The Plaintiff shall be assigned the task of managing and administering the

               Victims’ Compensation Fund. The Plaintiff shall be compensated for all time

               spent administering said Fund at the rate of $45.88 per hour. The Plaintiff shall

               keep detailed records of all tasks engaged in and shall submit copies of said

               records to the Court and the above-named Defendants on a monthly basis.

           b. Within thirty (30) days of the entry of an order by this Court creating a Victims’

               Compensation Fund, the above-named Defendants shall deposit in an interest-

               bearing escrow account the total sum as determined by applying the calculation

               set forth in the attached Appendix B.



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       c. Any interest accruing to such Victims’ Compensation Fund shall become a part of

          the fund and be utilized as set forth herein.

       d. Within fifteen (15) days after the above-named Defendants deposit funds in the

          Victims’ Compensation Fund, the Plaintiff shall publish a Notice to Potential

          Victims of Housing Discrimination (hereinafter “Notice”) in at least five daily

          newspapers serving the main population centers of the State of Idaho informing

          readers of the availability of compensatory funds. The form and content of the

          Notice shall be approved by the Court at the time of the entry of the Court’s order

          establishing the Victims’ Compensation Fund. The Notice shall be no smaller

          than three columns by six inches and shall be published on three occasions in each

          newspaper. The publication dates shall be separated from one another by at least

          21 days, and at least two of the publication dates shall be a Sunday. The Plaintiff

          shall send a copy of the Notice prior to each and every publication date to each of

          the following organizations: (1) Living Independent Network Corp. (LINC), 2500

          Kootenai Street, Boise, Idaho 83705; (2) Co-Ad, Inc., 4477 Emerald Street, Suite

          B-100, Boise, Idaho 83706; Disability Action Center, 124 East Third Street,

          Moscow, Idaho 83843; and (4) Living Independently for Everyone (LIFE), P.O.

          Box 4185, 640 Pershing Avenue, Suite 7, Pocatello, Idaho 83201.

       e. Within thirty (30) days of the entry of an order by this Court creating a Victims’

          Compensation Fund, the Plaintiff shall send by first-class mail, postage prepaid, a

          copy of the Notice to each tenant who currently resides or who resided at any time

          at the subject property.



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       f. Nothing in this section shall preclude the Plaintiff from making its own additional

          efforts at its own expense to locate and provide notice to potentially aggrieved

          persons.

       g. Allegedly aggrieved persons shall have one hundred-twenty (120) days from the

          date of the entry of an order by this Court creating a Victims’ Compensation Fund

          to contact the Plaintiff in response to the Notice. The Plaintiff shall investigate

          the claims of allegedly aggrieved persons and, within one hundred-eighty (180)

          days from the entry of an order by this Court creating a Victims’ Compensation

          Fund, shall make a preliminary determination of which persons are aggrieved and

          an appropriate amount of damages that should be paid to each such persons. The

          Plaintiff will inform the above-named Defendants in writing of its preliminary

          determinations, together with a copy of a sworn declaration from each aggrieved

          person setting forth the factual basis of the claim. The above-named Defendants

          shall have fourteen (14) days to review the declaration and to provide to the

          Plaintiff any documents or information that they believe may refute the claim.

       h. After receiving the above-named Defendants’ refutation, if any, the Plaintiff shall

          submit its final recommendations to the Court for approval, together with a copy

          of the declarations and any additional information submitted by the above-named

          Defendants. When the Court issues an order approving or changing the Plaintiff’s

          proposed distribution of funds for aggrieved persons, the above-named

          Defendants shall, within ten (10) days of the Court’s order, deliver to the Plaintiff

          checks payable to the aggrieved persons in the amounts approved by the Court.

          In no event shall the aggregate of all such checks exceed the sum of the Victims’

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               Compensation Fund, including accrued interest and after deducting compensation

               to the Plaintiff as described above. No aggrieved persons shall be paid until he or

               she has executed and delivered to counsel for the Plaintiff a signed and notarized

               statement releasing the above-named Defendants from all claims related to the

               Subject Property.

           i. In the event that less than the total amount in the fund including interest is

               distributed to aggrieved persons, the remaining funds shall be submitted to an

               education fund to be drawn upon by the Plaintiff and other non-profit

               organizations for purposes of educating housing consumers and providers on the

               requirements of the Fair Housing Act.

           j. The above-named Defendants shall permit the Plaintiff, upon reasonable notice, to

               review any records that may facilitate its determinations regarding the claims of

               allegedly aggrieved persons.

        53. The Court should award to the Plaintiff and against the above-named Defendants

punitive damages due to the intentional and willful nature of the above-named Defendants’

conduct in the amount of $10,000.00.

        54. The Court should enjoin the above-named Defendants, their officers, employees,

agents, successors, and all other persons in active concert or participation with the above-named

Defendants, from failing or refusing to comply with all requirements of the FHA and its

implementing regulations.

        55. The Court should award to the Plaintiff and against the above-named Defendants

reasonable attorney’s fees and costs incurred in this action, as provided for by statute and court

rule.

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                                    PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff Intermountain Fair Housing Council prays that the Court

enter judgment against the above-named Defendants as follows:

       A. That the Court find and declare that the actions and omissions of the above-named

Defendants constitute violations of the Fair Housing Act;

       B. That the Court award to the Plaintiff and against the above-named Defendants actual

damages in compensation for its out-of-pocket expenses and past diversion of resources in the

amount of $13,021.11, which continue to accrue;

       C. That the Court award to the Plaintiff and against the above-named Defendants actual

damages in compensation for the necessary future diversion of the Plaintiff’s resources in the

amount of $10,500.00;

       D. That the Court award to the Plaintiff and against the above-named Defendants actual

damages in compensation for the Plaintiff’s lost economic opportunity in the amount of

$1,000.00;

       E. That the Court award to the Plaintiff and against the above-named Defendants actual

damages in compensation for the frustration of the Plaintiff’s mission in the amount of

$19,006.00;

       F. That the Court enter an order establishing a Victims’ Compensation Fund in the

amount of $945,919.76, as determined by applying the calculation set forth in the attached

Appendix B and to be administered according to the terms set forth in Paragraph 52 above;

       G. That the Court award to the Plaintiff and against the above-named Defendants

punitive damages due to the reckless or callous nature of the above-named Defendants’ conduct

in the amount of $10,000.00;

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        H. That the Court enjoin the above-named Defendants, their officers, employees, agents,

successors, and all other persons in active concert or participation with the above-named

Defendants, from failing or refusing to comply with all requirements of the FHA and its

implementing regulations;

        I. That the Court award to the Plaintiff and against the above-named Defendants

reasonable attorney’s fees and costs incurred in this action;

        J. That the Court order any further and additional relief as the interests of justice may

require.

                                         JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, the Plaintiff demands a

trial by jury on all issues.
                    3rd
        DATED this _______          December
                           day of ___________________________, 2010.


                                               Ken Nagy
                                                                           Digitally signed by Ken Nagy
                                                                           DN: cn=Ken Nagy, o=Attorney at Law, ou,
                                                                           email=knagy@lewiston.com, c=US
                                              __________________________________________
                                                                           Date: 2010.12.03 12:25:57 -08'00'

                                              KEN NAGY
                                              ATTORNEY FOR PLAINTIFF




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                                                                                                 Attorney at Law
                                                                                                 Lewiston, Idaho
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       RICHARD MABBUTT, being first duly sworn on his oath, deposes and says:

        I am the Executive Director of the Intermountain Fair Housing Council, the Plaintiff
herein, that I have read the foregoing document, know well the contents thereof, and that the
facts therein stated are true to the best of my knowledge and belief.


                                                             /s/
                                             __________________________________________
                                             RICHARD MABBUTT

STATE OF I D A H O    )
                      : ss
County of ___________ )

                I, __________________________________________, a Notary Public for said
state, does hereby certify that on the _______ day of ______________________________, 2010,
personally appeared before me RICHARD MABBUTT, Executive Director of the Intermountain
Fair Housing Council, who, being by me first duly sworn, declared that he signed the foregoing
document as such, and that the statements therein contained are true and accurate as he verily
believes.

       SEAL
                                                                /s/
                                             __________________________________________
                                             Notary Public in and for the State of ____________
                                             Residing at: _______________________________
                                             My commission expires: _____________________




VERIFIED COMPLAINT AND                     17
DEMAND FOR JURY TRIAL                                                                  KEN NAGY
                                                                                     Attorney at Law
                                                                                     Lewiston, Idaho
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                                           APPENDIX A:

                       PLAINTIFF’S MEMORANDUM OF DAMAGES

   Intermountain Fair Housing Council v. Chief Seltice Mobile Home Park and Jeanie Peery

Plaintiff:              Intermountain Fair Housing Council

Attorney for Plaintiff: Ken Nagy
                        Attorney at Law
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                        Lewiston, Idaho 83501
                        (208) 301-0126
                        Fax: (509) 758-9820
                        E-mail: knagy@lewiston.com

Defendants:             Chief Seltice Mobile Home Park
                        Jeanie Peery

Date Prepared:          November 29, 2010


        The Plaintiff has identified four categories of damages that it has suffered as the result of

the above-named Defendants’ failure to comply with the FHA. These categories are: (1) Past

Diversion of Resources; (2) Future Diversion of Resources; (3) Lost Economic Opportunity; and

(4) Frustration of Mission. Each of these categories of damages have been recognized and

awarded by various courts to organizational plaintiffs in previous fair housing cases. 1


        1
         See, Southern Cal. Housing Rights Center v. Krug, 564 F.Supp.2d 1138 (Cent. Dist. Cal.
2007) (fair housing organization awarded $6,590.80 for diversion of resources and $29,065.32
for frustration of mission), Fair Housing of Marin v. Combs, 285 F.3d 899 (9th Cir. 2002) (fair
housing organization awarded $14,217.00 for the diversion of resources); HUD v. Perland, Fair
Housing-Fair Lending Rptr. ¶25,136 (HUD ALJ 1998) (fair housing organization awarded
$4,516 for the diversion of resources and $1,400 for the costs of future monitoring of the
defendants); Ragin v. Harry Macklowe Real Estate Co., 801 F.Supp. 1213, aff’d in pertinent
part, 908 F.3d 898 (2nd Cir. 1993) (fair housing organization awarded $20,000 for the diversion
of resources); HUD v. Jancik, Fair Housing-Fair Lending Rptr. ¶25,058 (HUD ALJ 1993) (fair
housing organization awarded $13,386 for the diversion of past and future resources and $9,000
for the financial opportunity lost as a result of the investigation and litigation of the case); City of
Chicago v. Matchmaker Real Estate Sales Center, Inc., 982 F.2d 1086 (7th Cir. 1992) (fair
housing organization awarded $16,500 for out-of-pocket expenses and costs of future monitoring
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DEMAND FOR JURY TRIAL                                                                        KEN NAGY
                                                                                           Attorney at Law
                                                                                           Lewiston, Idaho
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       The following represents an itemization of the Plaintiff’s damages:

       1. Out-of-Pocket Expenses and Past Diversion of Resources

       The Plaintiff has incurred significant pre-litigation expenses as a result of the above-

   named Defendants’ discriminatory actions, which are constituted by its out-of-pocket

   expenses and its past diversion of resources. The Plaintiff has sponsored training workshops

   in the above-named Defendants’ geographic area, and has engaged in site monitoring,

   investigation, complaint preparation, counseling and other activities with regards to this

   matter. As a result of these activities, it has incurred expenses as follows:

       a. Litigation Costs (to date):                                           $485.50

       b. Investigation and Counseling Costs:                                  $4,029.61

       c. Educational efforts:                                                 $5,750.00

       d. Cost of Deferred Actions:                                            $2,756.00

                                        Total Past Diversion of Resources: $13,021.11
       Further litigation of these matters will result in an increase in the Plaintiff’s diversion of

resources, as well as other damages.

       2. Future Diversion of Resources

       The Plaintiff has an affirmative duty to ensure the above-named Defendants’ ongoing

compliance with the FHA, with regards to both the subject property as well as any future

developments in which the above-named Defendants may participate. Such monitoring activities

include site visits, training of the above-named Defendants and their employees and agents,

counseling of victims, and testing.


and training); Saunders v. General Services Corp., 659 F.Supp. 1042 (E.D. Va. 1987) (fair
housing organization awarded $2,300 for the diversion of resources and $10,000 for the
frustration of its equal housing mission).

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DEMAND FOR JURY TRIAL                                                                        KEN NAGY
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       The Plaintiff expects to incur the following expenses as a result of the current violations:

       a. Future Advertising Costs:                                          $3,000.00

       b. Cost of future training:                                           $4,500.00

       c. Costs of Future Monitoring/Testing:                                $3,000.00

                               Total Future Diversion of Resources:         $10,500.00

       3. Lost Economic Opportunity

       Vigorous investigation and enforcement of fair housing complaints, including the

property at issue herein, has caused the Plaintiff to divert limited resources and manpower away

from grant-writing activities. The Plaintiff could reasonably expect to have obtained funding to

sponsor fair housing training events in the amount of $1,000.00 if it had not been so diverted due

to the above-named Defendants’ actions

       a. Loss of Funding:                                                     $1,000.00

       4. Frustration of Mission

       The investigation of the subject of this complaint, the counseling and training provided to

the community, and the preparation of the administrative complaint have caused the Plaintiff to

divert significant resources toward this proceeding and has undermined the work of furthering

fair housing in the state of Idaho.

       As a direct result of the above-named Defendants’ discriminatory actions, the Plaintiff’s

mission of furthering fair housing has been significantly frustrated, and the Plaintiff has had to

devote, and will continue to devote, additional resources in order to counteract the past and

ongoing effects of this discrimination.

       Furthermore, the property at issue in this proceeding has constituted a formidable barrier

to non-discriminatory housing, thereby undermining the mission of the Plaintiff in guaranteeing

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DEMAND FOR JURY TRIAL                                                                      KEN NAGY
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fair housing to all residents of the state. The Plaintiff has determined that it will be necessary to

educate housing consumers regarding fair housing requirements in order to counteract the effects

of the above-named Defendants’ failure to comply with the FHA.

       The Plaintiff measures the damage to its frustration as the total monetary damages that

the above-named Defendants’ actions have cost to correct, including lost funding opportunities.

       a. Frustration of Mission                                              $19,006.00

                                       TOTAL DAMAGES

       The Council calculates its total damages in this proceeding as follows:

       1. Out-of Pocket Expenses and Past Diversion of Resources:            $13,021.11

       2. Future Diversion of Resources:                                     $10,500.00

       3. Lost Economic Opportunity:                                           $1,000.00

       4. Frustration of Mission:                                             $19,006.00

                                                       Total Damages:         $43,527.11




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DEMAND FOR JURY TRIAL                                                                       KEN NAGY
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                                         APPENDIX B:

                 CALCULATION OF VICTIMS’ COMPENSATION FUND

   Intermountain Fair Housing Council v. Chief Seltice Mobile Home Park and Jeanie Peery

Plaintiff:             Intermountain Fair Housing Council

Attorney for Plaintiff: Ken Nagy
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Defendants:             Chief Seltice Mobile Home Park
                       Jeanie Peery

Date Prepared:         November 29, 2010


        I. INTRODUCTION

        In addition to the damages incurred by the Plaintiff, a number identified and of as-of-yet

unidentified victims have also suffered damages as the result of the above-named Defendants’

discriminatory actions. In furtherance of the Plaintiff mission, a Victims’ Compensation Fund

should be created in order to identify and obtain adequate compensation for such victims.

        The Federal District Court for the District of Idaho has frequently ordered the

establishment of a Victims’ Compensation Fund in previous actions brought pursuant to the Fair

Housing Act. See, United States of America and Intermountain Fair Housing Council v. Stealth

Investment, LLC, et al., Case No. CV 07-500-E-EJL (Consent Decree entered May 29, 2008

establishing Victims’ Compensation Fund in the amount of $12,500.00); United States of

America v. Taigen & Sons, Inc., et al., Case No. CV 01-337-N-EJL (Consent Order entered July

18, 2006 establishing Victims’ Compensation Fund in the amount of $55,000.00); United States

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DEMAND FOR JURY TRIAL                                                                       KEN NAGY
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of America v. Thomas Development Co., et al., Case No. CV 02-68-C-EJL (Consent Order

entered March 11, 2005 establishing Victims’ Compensation Fund in the amount of

$100,000.00); United States of America v. S-Sixteen Ltd. Partnership, Case No. CV 03-154-S-

BLW (Consent Order entered March 14, 2005 establishing Victims’ Compensation Fund in the

amount of $40,000.00); United States of America v. Pacific Northwest Electric, Inc., et al., Case

No. Civil No. 01-19-S-BLW (Consent Decree entered October 21, 2003 establishing Victims’

Compensation Fund in the amount of $29,000.00); United States of America v. Virginia L.

Vanderpool, et al., Case No. CIV 01-78-S-BLW (Consent Order entered April 27, 2002

establishing Victims’ Compensation Fund in the amount of $30,000.00); United States of

America, et al., v. Duane B. Hagadone, et al., Case No. CV 97-603-N-RHW (Consent Order

entered July 6, 1999 establishing Victims’ Compensation Fund in the amount of $30,000.00).

       Said orders, however, do not contain a description of how the amount of such a fund was

calculated. The Victims’ Compensation Fund that should be ordered herein should be calculated

according to the underlying principles and using the applicable figures set forth below.

       II. UNDERLYING PRINCIPLES

       A. The number of units that exist at the subject property that are required to comply with

the requirements of the Fair Housing Act total 28.

       B. The total number of months that residents and prospective purchasers have been

subjected to discrimination at the subject property in violation of the Fair Housing Act is

currently 280 months, as of the filing of this complaint.

       C. On average, each of the units could be expected to be rented to a new tenant every

twelve months.



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        D. The U.S. Census Bureau Population Survey of 2000 indicates that, for the state of

Idaho, persons (age 5+) with a disability comprised 13.0% of the population.

        E. The amount of damages awarded to victims in similar cases has been $10,000 or

more.

        F. The Plaintiff is the organization best equipped and situated to administer the Victims'

Compensation Fund.

        G. The Plaintiff should be compensated at its operational rate of $45.88 per hour in the

administration of the Victims' Compensation Fund.

        H. The number of hours that it will take to administer the Victims' Compensation Fund

and complete compensation of victims can reasonably be expected to be three hours per

identified victim.

        I. Administration of the fund will result in the incursion of out-of-pocked expenses, such

as advertising and travel costs, in the amount of $1,000.00 per identified victim.

        III. CALCULATION OF AMOUNT OF VICTIMS’ COMPENSATION FUND

        The total amount of the Victims' Compensation Fund should be calculated as follows:

        1. Step One: Estimated Compensation for Victims. The amount of funds that can

reasonably be expected to be necessary to compensate victims of discrimination by the above-

named Defendants, as they become identified, should be calculated as follows:

        First, the total number of months that the above-named Defendants have owned or

managed the Subject Property is divided by the estimated average duration of tenancy in months,

and multiplied by the total number of units at the subject property. This represents the total

number of tenants or applicants at the subject property over the relevant time period. This

number can be expressed as follows:

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        (280/12) X 28 = 653.33                                (1.1)

       Second, the above product is multiplied by 13.0% to determine the number who faced

discrimination based on disability:

       (653.33 X 0.130) = 84.93                               (1.2)

       Third, the sum from equation (1.2) above is multiplied by a reasonable damage award to

each Victim (which is $10,000), arriving at the total necessary to compensate Victims:

       84.93 X $10,000 = $849,300.00                          (1.3)



       2. Step Two: Estimated Compensation for the Fund Administrator. The amount of funds

that can reasonably be expected to be necessary to compensate the fund administrator for work

performed in administering the Victim's Compensation Fund should be calculated as follows:

       The estimated total number of Victims (from equation 1.2, above) is multiplied by the

number of hours necessary to administer the fund per identified Victim (which is 3), times the

Plaintiff/Intervener's operational rate (which is $45.88 per hour):

       84.93 X 3 X $45.88 = $11,689.76                        (2.1)



       3. Step Three. The amount of funds that can reasonably be expected to be necessarily

incurred by the fund administrator as out-of-pocket expenses in administering the Victims'

Compensation Fund should be calculated as follows:

       The estimated total number of Victims (from equation 1.2, above) is multiplied by the

amount that the Plaintiff/Intervener can be expected to incur in out-of-pocket costs in identifying

and compensating each identified Victim (which is $1,000):

       84.93 X $1,000 = $84,930.00                            (3.1)

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DEMAND FOR JURY TRIAL                                                                    KEN NAGY
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       4. Step Four. The total amount of the Victims' Compensation Fund is the amount

determined by adding the results of Step One, Step Two and Step Three, as set forth above:


       TOTAL = $849,300.00 + $11,689.76 + $84,930.00 = $945,919.76               (4.1)




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